Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 1 of 52 PageID #:
                                      65
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 2 of 52 PageID #:
                                      66
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 3 of 52 PageID #:
                                      67
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 4 of 52 PageID #:
                                      68
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 5 of 52 PageID #:
                                      69
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 6 of 52 PageID #:
                                      70
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 7 of 52 PageID #:
                                      71
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 8 of 52 PageID #:
                                      72
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 9 of 52 PageID #:
                                      73
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 10 of 52 PageID
                                   #: 74
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 11 of 52 PageID
                                   #: 75
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 12 of 52 PageID
                                   #: 76
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 13 of 52 PageID
                                   #: 77
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 14 of 52 PageID
                                   #: 78
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 15 of 52 PageID
                                   #: 79
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 16 of 52 PageID
                                   #: 80
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 17 of 52 PageID
                                   #: 81
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 18 of 52 PageID
                                   #: 82
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 19 of 52 PageID
                                   #: 83
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 20 of 52 PageID
                                   #: 84
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 21 of 52 PageID
                                   #: 85
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 22 of 52 PageID
                                   #: 86
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 23 of 52 PageID
                                   #: 87
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 24 of 52 PageID
                                   #: 88
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 25 of 52 PageID
                                   #: 89
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 26 of 52 PageID
                                   #: 90
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 27 of 52 PageID
                                   #: 91
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 28 of 52 PageID
                                   #: 92
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 29 of 52 PageID
                                   #: 93
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 30 of 52 PageID
                                   #: 94
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 31 of 52 PageID
                                   #: 95
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 32 of 52 PageID
                                   #: 96
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 33 of 52 PageID
                                   #: 97
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 34 of 52 PageID
                                   #: 98
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 35 of 52 PageID
                                   #: 99
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 36 of 52 PageID
                                   #: 100
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 37 of 52 PageID
                                   #: 101
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 38 of 52 PageID
                                   #: 102
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 39 of 52 PageID
                                   #: 103
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 40 of 52 PageID
                                   #: 104
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 41 of 52 PageID
                                   #: 105
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 42 of 52 PageID
                                   #: 106
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 43 of 52 PageID
                                   #: 107
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 44 of 52 PageID
                                   #: 108
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 45 of 52 PageID
                                   #: 109
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 46 of 52 PageID
                                   #: 110
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 47 of 52 PageID
                                   #: 111
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 48 of 52 PageID
                                   #: 112
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 49 of 52 PageID
                                   #: 113
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 50 of 52 PageID
                                   #: 114
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 51 of 52 PageID
                                   #: 115
Case 1:18-cv-03911-JMS-TAB   Document 1-4   Filed 12/12/18   Page 52 of 52 PageID
                                   #: 116
